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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.                            Case No. 11-cr-134-01-JL

Deborah Rivera-Jurado

                                  O R D E R


     The assented to motion to reschedule jury trial (document no.

12) filed by defendant is granted. Length of continuance allowed only

because of special considerations described in the motion.; Final

Pretrial is rescheduled to March 22, 2012 at 11:30 a.m.; Trial is

continued to the two-week period beginning April 3, 2012, 9:30 a.m.

     Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. ' 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.




     SO ORDERED.

                                              __________________________

                                              Joseph N. Laplante
                                              Chief Judge
Date: December 15, 2011
cc: Jeffrey S. Levin, AFD
     Jennifer Davis, AUSA
     U.S. Marshal
     U.S. Probation
